
PER CURIAM.
Reversed and remanded for an evidentia-ry hearing on the authority of Halpin v. State, 428 So.2d 703 (Fla. 2d DCA 1983). In a motion for post-conviction relief the appellant alleged the existence of numerous alibi witnesses whose identities he disclosed to his lawyer. He also claimed that alibi was his only defense. Notwithstanding these facts, he alleges, his lawyer failed to contact or call any of these witnesses or to present appellant’s testimony at trial. We believe these allegations state a prima facie case for relief sufficient to require an evidentiary hearing.
ANSTEAD, C.J., and DOWNEY and HERSEY, JJ., concur.
